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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

IN RE: TERRORIST ATTACKS ON          :
SEPTEMBER 11, 2001                   :                03-MDL-1570 (GBD)(SN)
____________________________________

This Document Relates To:
Kristen Breitweiser, Individually as Spouse and as Personal Representative of the Estate of
Ronald Breitweiser, deceased; and Caroline Breitweiser, Individually as Surviving Child of
Ronald Breitweiser, deceased only in the cases of Ashton, et al. v. al Qaeda Islamic Army, et al.,
Case No. 02-cv-6977 (GBD)(SN) (and member case Burlingame v. Bin Laden, et al., Case No.
02-cv-7230); and Ashton, et al. v. Kingdom of Saudi Arabia, Case No.: 17-cv-02003 (GBD)
(SN)


                   UNOPPOSED MOTION TO SUBSTITUTE COUNSEL

       COME NOW, Kristen Breitweiser, Individually as Spouse and as Personal Representative

of the Estate of Ronald Breitweiser, deceased; and Caroline Breitweiser, Individually as Surviving

Child of Ronald Breitweiser, deceased (“the Breitweiser Plaintiffs”) Plaintiffs in Ashton, et al. v.

al Qaeda Islamic Army, et al., Case No. 02-cv-6977 (GBD)(SN) (and member case Burlingame v.

Bin Laden, et al., Case No. 02-cv-7230); and Ashton, et al. v. Kingdom of Saudi Arabia, Case No.

17-cv-02003 (GBD)(SN), and bring this Unopposed Motion to Substitute Counsel. As grounds

for said Motion, the Breitweiser Plaintiffs state as follows:

       1.       The Breitweiser Plaintiffs request the Court to grant permission for Frank H.

Granito, III of Speiser Krause, PC to withdraw and to substitute Dennis G. Pantazis as attorney of

record as to the Breitweiser Plaintiffs only.

       2.      The Breitweiser Plaintiffs have retained Dennis G. Pantazis of Wiggins Childs

Pantazis Fisher Goldfarb LLC to represent them in this matter.

       3.      The Breitweiser Plaintiffs, Frank H. Granito, III, and Dennis G. Pantazis consent to

the substitution of counsel as requested herein (signed Consents attached hereto as Exhibit A).
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       4.      The parties anticipate after substitution of counsel is granted they will move the

Court to separate the Breitweiser Plaintiffs into a separate case.

       WHEREFORE, PREMISES CONSIDERED, Kristen Breitweiser, individually as

spouse and as Personal Representative of the Estate of Ronald Breitweiser, deceased; and Caroline

Breitweiser, individually as surviving child of Ronald Breitweiser, deceased, pray that this

Honorable Court enter an Order allowing Frank H. Granito, III of Speiser Krause, PC to withdraw

from representing the Breitweiser Plaintiffs and to substitute Dennis G. Pantazis of Wiggins Childs

Pantazis Fisher Goldfarb LLC as attorney of record for the Breitweiser Plaintiffs only in Ashton,

et al. v. al Qaeda Islamic Army, et al., Case No. 02-cv-6977 (GBD)(SN) (and member case

Burlingame v. Bin Laden, et al., Case No. 02-cv-7230); and Ashton, et al. v. Kingdom of Saudi

Arabia, Case No.: 17-cv-02003 (GBD)(SN).

                                              RESPECTFULLY SUBMITTED,

                                              /s/ Dennis G. Pantazis
                                              Dennis G. Pantazis


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